Case 2:05-cr-20282-BBD Document 31 Filed 09/02/05 Page 1 of 2 PagelD_§O

 

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uNlTEo sTATEs oF AMERicA W,@ C§F' T‘Y‘;'T{HC§UHT
Piaimiff
vs.
cR. No. 05-20282-0
EBONY JORDAN,

TERESIA S|MPSON

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6, 2005 trial date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
rep_ort date of Thursda)¢l OctoMl Mat 9:00 g.m.. in Courtroom 3. 9th F|oor of
the Federal Building, Memphis, TN.

The period from August 25, 2005 through November 18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

lT |S SO ORDERED this way of September, 2005.

 
      

N|CE B. DO ALD
|TED STATES D|STRICT JUDGE

 

I"~~~: document entered on the docket sheet in compliance

wm little §§ dmi/or 32(b) FRCrP on “_ _.____

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UNITED sATE ISTRICT COURT - WETERN DISTRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 31 in
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Camille Reese McMullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Needum Louis Germany
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Robert L. Parris

THE SCHOLL LAW FIRM
8 S. Third St.

Fourth Floor

Memphis7 TN 38103--238

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

